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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA,                       Mag No. __________________
                                                          23mj11153


  v.                                              ORDER

  _______________________,
  JOHN DESALVO

                  Defendant.


       Pursuant to Rule 5(f) of the Federal Rules of Criminal Procedure, and as set forth on

the record during the initial appearance of the defendant on this______
                                                                   23rd day of_____________,
                                                                                August

202, in the presence of both the prosecutor and defense counsel in this matter, the Court

confirms the United States’ continuing obligation to produce all exculpatory evidence to the

defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to

do so. Failing to do so in a timely manner may result in consequences, including, but not limited

to, the Court’s order to produce information, the granting of a continuance, the exclusion of

evidence, adverse jury instructions, dismissal of charges, contempt proceedings, or sanctions by

the Court.
                                                  V$1'5e0(63,126$

                                               Hon. André M. Espinosa, USMJ
                                               United States Magistrate Judge




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